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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )
                                                  )
       v.                                         )           No. 4:17-CR-310-5 RLW
                                                  )
DEMOND WILLIAMS,                                  )
                                                  )
               Defendant.                         )

                                MEMORANDUM AND ORDER

       This closed criminal matter is before the Court on Defendant’s pro se Motion for

Reconsideration (ECF No. 349) of the Court’s Memorandum and Order of June 24, 2020 (ECF

No. 329) that denied Defendant’s pro se Motion for Compassionate Release/Reduction in Sentence

under the First Step Act, 18 U.S.C. § 3582(c). 1 The Office of the Federal Public Defender filed a

Sealed Motion to Reconsider Order Denying Defendant’s Motion Seeking Compassionate Release

(ECF No. 382) that alleges a new diagnosis of hypertension as a basis for compassionate release

in addition to Defendant’s status as a Black male smoker, and urges the Court to reexamine its

analysis of the 18 U.S.C. § 3553(a) factors. The United States Probation Office filed a Report

that verifies Defendant’s current medical conditions. (ECF No. 425.) The Government opposes

the Motions to Reconsider (ECF No. 448) and the Federal Public Defender filed a Reply in support

(ECF No. 452) and filed two supplements to the Reply (ECF Nos. 456, 460).

       The Court now reconsiders its previous denial of Defendant’s pro se Motion for

Compassionate Release and will grant compassionate release for the following reasons.




       1
       The Office of the Federal Public Defender declined to supplement Defendant’s original Motion
for Compassionate Release. (ECF No. 319.)
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Background

       On July 12, 2017, Defendant was indicted on one count of Conspiracy to Distribute and

Possess with Intent to Distribute Heroin and Marijuana in violation of 21 U.S.C. §§ 846, 841(a)(l),

and 841(b)(l)(B); and one count of Possession of a Firearm in Furtherance of a Drug Trafficking

Crime in violation of 18 U.S.C. § 924(c)(l)(A). Defendant pleaded guilty to count one of the

indictment on September 25, 2018, and the Government later dismissed the firearm count.

       The presentence investigation report (“PSR”) determined Defendant’s base offense level

to be 28. (ECF No. 175, ¶ 48.) Defendant received a two-level increase for possession of a

dangerous weapon, a firearm; and a three-level decrease for acceptance of responsibility for a total

offense level of 27. (Id. ¶ 57.) Defendant had three criminal history points, establishing a

Criminal History Category of II. (Id. ¶ 87.) Based on a Total Offense Level of 27 and a Criminal

History Category of II, the guideline imprisonment range was from 78 months to 97 months. (Id.

¶ 120.) On March 22, 2017, the Court sentenced Defendant to a below-guidelines sentence of 70

months imprisonment and four years’ supervised release.

       The Bureau of Prisons (“BOP”) placed Defendant at FCI Forrest City Low, in Forrest City,

Arkansas. In his pro se motion for compassionate release, Defendant asserted as grounds for

release only the extraordinary and compelling circumstances caused by the COVID-19 pandemic

and the inability to observe social distancing in the prison environment. (ECF No. 305.) In one

of several pro se supplements to his motion, Defendant stated he is a “37 year old black man that

smokes and by the C.D.C. that makes me high risk because of a compromised immune system.”

(ECF No. 321 at 1.) In denying the pro se motion for compassionate release in June 2020, the

Court stated among other things that Defendant offered no proof that his medical history made

COVID-19 exposure especially dangerous for him, other than being a smoker. (ECF No. 329 at

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5.)   The Court observed that Defendant “offer[ed] no evidence to establish that he has a

compromised immune system.” (Id.)

       On October 6, 2020, the Centers for Disease Control and Prevention (“CDC”) added

current or prior smokers to the list of persons who are at increased risk of severe COVID-19 illness.

CDC advice now states, “Being a current or former cigarette smoker increases your risk of severe

illness from COVID-19.” 2 The CDC also advises that persons with hypertension or high blood

pressure “might be at an increased risk for severe illness from the virus that causes COVID-19.” 3

The Parties’ Briefing on Reconsideration

       Defendant now seeks reconsideration and compassionate release on the basis that he faces

a heightened risk of serious illness or death from COVID-19 due to his recently diagnosed

hypertension, on top of his smoking, race, and gender. With respect to his race, Defendant cites

an analysis based on CDC data through June 6, 2020, which shows that in every age category,

Black people are dying from COVID at roughly the same rate as white people more than a decade

older, and the disparities are especially marked in somewhat younger age groups. 4 For example,



       2
         CDC, Coronavirus Disease 2019 (COVID-19), People with Certain Medical Conditions,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html#smoking (last visited Nov. 24, 2020).

        The Court clarifies that its statement in the Memorandum and Order of June 24, 2020, that
Defendant “offers no evidence to establish that he has a compromised immune system,” did not relate to
the Court’s interpretation of CDC guidance but instead to the lack of evidence, such as BOP medical
records, to support the assertions in Defendant’s compassionate release motion concerning his health
condition.
       3
        See n.2, supra.
       4
         Tiffany N. Ford, Sarah Reber, and Richard V. Reeves, “Race gaps in COVID-19 deaths are even
bigger than they appear,” The Brookings Institution (June 16, 2020), https://www.brookings.edu/blog/up-
front/2020/06/16/race-gaps-in-covid-19-deaths-are-even-bigger-than-they-appear/ (last visited Nov. 24,
2020).

                                                  3
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for those aged 35-44, Black death rates are approximately nine times higher than for whites, and

overall the age-adjusted COVID-19 death rate for Black people is 3.6 times that for whites. (Id.)

       Defendant urges the Court to reconsider its findings concerning his risks of exposure to the

coronavirus at Forrest City Low and the BOP’s ability to manage the virus. The Court had

described a decline in active COVID-19 cases at Forrest City Low, as the BOP reported 511 active

cases on June 8, 2020, and 140 active cases on June 23, 2020. (ECF No. 329 at 6.) Although

active cases at Forrest City Low decreased steadily thereafter, with only nine active cases as of

September 3, 2020 (ECF No. 382 at 6), there has been a significant number of new cases at the

institution recently. Currently there are 56 active inmate cases and 15 active staff cases, with 619

inmates and 4 staff recovered, with no inmate or staff deaths. 5

       With respect to the Court’s analysis of public safety and other 18 U.S.C. § 3553(a) factors,

Defendant states that while he was a “lower level” courier in a larger drug conspiracy, responsible

for “more than 700 grams of heroin and [he] possessed a weapon at the time of the transaction

when he was arrested” (ECF No. 329 at 6), the Court should also weigh the impact of his personal

drug abuse–notably his Percocet pain pill addiction–at the time of the offense and his substantial

rehabilitation to date to overcome that addiction. (PSR, ECF No. 175, ¶ 103.) Defendant states

he has completed the Drug Education course and the Non-Residential Drug Treatment Program

and completed other classes ranging from parenting to emotional management to job training.

(ECF No. 382-1 at 1-2). Defendant also states the BOP has classified him as a “low risk” to

reoffend (id. at 8), and he has no disciplinary violations during his incarceration. (Id. at 5.)




       5
         Federal Bureau of Prisons, COVID-19 Coronavirus, https://www.bop.gov/coronavirus/ (last
visited November 24, 2020).

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       Defendant addresses the Court’s stated concern that reducing his sentence could give rise

to unwarranted sentencing disparities, as three of his co-defendants still awaited trial in June 2020.

(ECF No. 329 at 6.) Defendant argues this should not dissuade the Court from reducing his

sentence as, if anything, it supports the opposite conclusion as he took responsibility for his

conduct. Defendant states that he was 35 years old at sentencing and had no felony convictions

prior to this case. Defendant asserts that his criminal history is minor and dated, as his most major

criminal history is a 2001 trafficking case in which he completed probation, including 120 days of

electronic monitoring, to discharge his suspended imposition of sentence. (ECF No. 175, ¶ 65.)

Defendant contends his history of successful completion of probation shows he will abide by any

Court-ordered conditions of supervision, and he has a stable home plan with his mother. Based

on these factors, Defendant asserts the Court should find he is not a danger to the community and

reconsider its prior finding that section 3553(a) factors foreclose his release.

       The Government opposes reconsideration on the basis that Defendant fails to identify

sufficient “extraordinary and compelling reasons” that warrant reconsideration of the Court’s

denial of his initial motion, much less satisfy the separate requirement of showing that the

mandatory sentencing factors in 18 U.S.C. § 3553(a) weigh in favor early release.                The

Government contends the Court’s determination as to “extraordinary and compelling reasons” is

restricted by the “binding policy statement” in Section 1B1.13 of the United States Sentencing

Guidelines Manual, which “limits the universe of extraordinary and compelling reasons to five

categories[.]”   (ECF No. 448 at 4.)       The Government asserts Defendant’s hypertension is

controlled by 10 milligrams of Lisinopril per day and he has been classified as healthy or needing

only simple chronic care. (ECF No. 425 at 2.) It contends that nothing about Defendant’s recent

diagnosis should change the Court’s prior analysis that he fails to show extraordinary and

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compelling reasons which would warrant compassionate release, and the § 3553(a) factors

continue to weigh heavily in favor of denying relief.

       The Government states that this was an extremely serious offense involving more than 700

grams of heroin and the possession of a firearm while conducting a drug deal at a hotel placing the

public at risk, and the Court was right to conclude that to reduce Defendant’s sentence so

significantly would lead to unwarranted sentencing disparities. As a result, it asserts that the

§ 3553(a) goals of promoting respect for the law and providing deterrence would be significantly

thwarted if relief were granted, and argues these factors preclude a finding that Defendant is not a

danger to the safety of other persons or the community.

       Defendant replies that in the past seven months, the BOP has failed to stop the spread of

COVID-19 in its institutions. Defendant states that as June 24, 2020, when the Court denied his

pro se motion, the BOP reported a total of 7,125 COVID cases, both active and recovered,

including inmates and staff, and as of October 27, 2020, that number has “exploded” to 18,646.

(ECF No. 452 at 1 & n.2.) 6 Defendant also states that while the Government stresses the BOP

“prohibit[s] all social . . . visits” (ECF No. 448 at 9) as an anti-COVID safeguard, the BOP

reinstated social visits as of October 3, 2020. 7 Defendant notes that without social visits, over

11,000 people, both inmates and staff, tested positive for COVID-19 between June 24 and October

27, 2020, and asserts that “[a]dding more people who have been out and about in society into the




       6
         As of November 24, 2020, this number appears to be 25,749 total active and recovered cases in
the BOP, and 145 deaths.                 Federal Bureau of Prisons, COVID-19 Coronavirus,
https://www.bop.gov/coronavirus/ (last visited November 24, 2020).
       7
         Federal Bureau of Prisons, Bureau to Resume Social Visitation, https://www.bop.gov/
resources/news/20200902_visitation.jsp (last visited Nov. 24, 2020).

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prison, on top of BOP staff, will only serve to continue to increase the BOP’s growing positive

case load.” (ECF No. 452 at 7.)

       Defendant contends the Government neglects to address the CDC’s revised criteria under

which persons with a history of smoking “are at increased risk” of serious illness or death from

COVID-19, while it downplays his risk from the coronavirus based on his hypertension because

the CDC has advised that persons with this condition “might be at an increased risk” for serious

illness or death. Defendant asserts that his history as a smoker, along with his hypertension, race,

and gender make him particularly susceptible to dire effects of COVID-19. Defendant also

asserts that the CDC’s revision of its criteria to include smoking “should elicit a concession from

the government that [he] meets section 3582(c)’s extraordinary and compelling requirement”

based on Department of Justice guidance, as AUSAs in other districts have conceded that those

with conditions on the CDC’s list for individuals who are at increased risk for serious illness from

COVID-19 present extraordinary and compelling reasons under 18 U.S.C.§ 3582(c)(1)(A). (ECF

No. 452 at 6 & Ex. D.)

       Defendant argues the Government’s recitation of his role in the offense supports granting,

rather than denying, his motion. Specifically, Defendant was “recruited” by Robert Hill to

participate in the offense by “picking up heroin for Hill.” (ECF No. 448 at 1.) Defendant states

that someone else not only provided him with the cash for the heroin, but also something as simple

and easy to purchase as a cell phone. (Id. at 2.) Defendant contends he was essentially a pawn,

acting at the direction of others, even for basic steps. Further, while the Government also argues

Defendant had a firearm in connection with the offense to support its dangerousness calculation

(id.), Defendant asserts that he left the firearm behind in the vehicle instead of taking it with him

when he approached the hotel entrance for the drug transaction, mitigating the dangerousness of

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his possession. Defendant also states he had registered the firearm and could legally carry it at

the time, as he was not a felon.

       Defendant maintains that apart from his “middleman” role in the offense, his minor and

stale criminal history demonstrates he is not a danger and can abide by supervised release

conditions. Defendant reiterates that this offense turned him into a felon for the first time, in his

mid-30s, and the bulk of his criminal history consists of traffic offenses or low-level misdemeanor

convictions. Defendant states he had been on probation five times and each time successfully

completed the probationary terms. (ECF No. 175, ¶¶ 65, 68, 69, 80, 84.) Defendant submits that

his most serious criminal history is a nearly two-decades old trafficking second-degree case,

incurred when he was eighteen years old, and this is one of the probationary sentences he

completed to discharge his suspended imposition of sentence. 8           Defendant claims he has

demonstrated he will comply with supervised release terms, and his stable home plan residing with

his mother will aid in compliance.

Legal Standards

       Defendant moves for release under 18 U.S.C. § 3582(c)(1)(A). As amended by the First

Step Act, Section 3582(c)(1)(A) authorizes the Court to modify terms of imprisonment as follows:

               [T]he court . . . upon motion of the defendant after the defendant has
               fully exhausted all administrative rights to appeal a failure of the
               Bureau of Prisons to bring a motion on the defendant’s behalf or the
               lapse of 30 days from the receipt of such a request by the warden of
               the defendant’s facility, whichever is earlier, may reduce the term of
               imprisonment (and may impose a term of probation or supervised
               release with or without conditions that does not exceed the unserved
               portion of the original term of imprisonment), after considering the
               factors set forth in section 3553(a) to the extent that they are
               applicable, if it finds that . . . extraordinary and compelling reasons

       8
        The PSR shows Defendant’s Trafficking Second Degree case involved possession of “more than
2 grams of a mixture or substance containing cocaine base.” (ECF No. 176, ¶ 65.)

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                warrant such a reduction . . . and that such a reduction is consistent
                with applicable policy statements issued by the Sentencing
                Commission[.]

18 U.S.C. § 3582(c)(1)(A).

         To be entitled to relief under the statute, Defendant must meet both the exhaustion

requirement and demonstrate that “extraordinary and compelling reasons” warrant a reduction of

his sentence. The Court addresses these requirements in turn.

                A. Exhaustion

         Section 3582(c)(1)(A) imposes a statutory exhaustion requirement. The Court previously

determined that Defendant administratively exhausted his claim because he submitted a request

for reduction in sentence to the Warden of Forrest City Low which was denied on April 21, 2020.

(ECF No. 309 at 4.) There is no dispute that Defendant has administratively exhausted his claim

and his Motion for Reconsideration is properly before the Court for determination.

                B. Extraordinary and Compelling Reasons for Release

         Section 3582(c)(1)(A) authorizes courts to reduce a sentence for “extraordinary and

compelling reasons,” but only if “such a reduction is consistent with applicable policy statements

issued by the Sentencing Commission.” Congress has not defined “extraordinary and compelling

reasons” except to state that “rehabilitation alone” does not suffice. 18 U.S.C. § 944(t) (cleaned

up). The Sentencing Commission was authorized to define the term and it did so before enactment

of the First Step Act, which amended section 3852(c)(1)(A) to, among other things, allow inmates

to petition courts directly for compassionate release, and eliminate the BOP’s previously exclusive

“gatekeeper” role. See United States v. Rodriguez, 2020 WL 1627331, at *2 (E.D. Pa. Apr. 1,

2020).




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       Section 1B1.13 of the Sentencing Guidelines states that a sentence reduction under section

3582(c)(1)(A) may be ordered where a court determines, “after considering the factors set forth in

18 U.S.C. § 3553(a),” that

               (1)(A) Extraordinary and compelling reasons warrant the reduction;
               ...

               (2) The defendant is not a danger to the safety of any other person
               or to the community, as provided in 18 U.S.C. § 3142(g); and

               (3) The reduction is consistent with this policy statement.

       In subsections (A)-(C) of the Application Note to section 1B1.13, the Commission

identified three “reasons” that meet the “extraordinary and compelling” standard of section

3582(c)(1)(A): (A) terminal illness diagnoses or serious medical, physical or mental impairments

from which a defendant is unlikely to recover, and which “substantially diminish” the defendant’s

capacity for self-care in prison; (B) aging-related health decline where a defendant is over 65 years

old and has served at least ten years or 75% of his sentence; or (C) two family related

circumstances. See id. cmt. n.1(A)-(C). The policy statement also has a catchall provision for

“extraordinary and compelling reason[s] other than, or in combination with, the reasons described

in subdivisions (A) through (C).” Id. cmt. n.1(D).

       The Government argues that Defendant does not meet the statutory standards and cannot

show the reasons listed in the policy statement issued by the sentencing commission, and that the

Court is restricted to the policy statement in Section 1B1.13 in making its decision. The Court

has rejected this argument on numerous occasions, concluding that Section 1B1.13 does not limit

the factors a district court can consider. See, e.g., United States v. Easton, 1:18-CR-22 RLW

(Mem and Order of Nov. 17, 2020) (ECF No. 71); United States v. Carroll, 4:98-CR-351 RLW

(Mem. and Order of Sept. 14, 2020) (ECF No. 201). Sentencing Guideline section 1B1.13 and


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its Application Note 1 have not been amended to reflect the changes made by the First Step Act,

because the United States Sentencing Commission has not had a quorum since the passage of the

Act. Guidelines Section 1B1.13 is inconsistent with the amended statute because it requires the

BOP Director to make a motion for compassionate release. Application Note 1 is inconsistent

with the new law because its list of specific reasons that could justify compassionate release

(medical condition, age, family circumstances) are not required by the statute and its catch-all

“other reasons” subsection requires the BOP Director to determine what are “extraordinary and

compelling” reasons. For this reason, many district courts have found that the guideline does not

limit the factors a court may consider but instead merely provides helpful guidance of some factors.

See, e.g., United States v. Schaffer, 4:16-CR-426 CDP, slip op. at 4-5 (E.D. Mo. May 5, 2020);

United States v. Brown, 2020 WL 2091802 at *5-6 (S.D. Iowa Apr. 29, 2020); United States v.

Marks, 2020 WL 1908911 (W.D.N.Y. Apr. 20, 2020); United States v. Resnick, 2020 WL 1658508

(S.D.N.Y. Apr. 2, 2020); United States v. Schmitt, 2020 WL 96904 at *3 (N.D. Iowa Jan. 8, 2020);

United States v. Urkevich, 2019 WL 6037391 (D. Neb. Nov. 14, 2019).

       The Eighth Circuit Court of Appeals has not articulated the extent of a district court’s

discretion under the First Step Act to determine whether extraordinary and compelling reasons

exist for compassionate release, but it has recognized that such discretion exists. See United

States v. Rodd, 966 F.3d 740, 746-47 & n.7 (8th Cir. 2020). The Second Circuit Court of Appeals

recently analyzed the First Step Act in depth in United States v. Brooker (Zullo), 976 F.3d 228 (2d

Cir. 2020). The district court had denied defendant Zullo’s motion for compassionate release

relying on Guideline § 1B1.13, “which seemingly still required a motion by the BOP.” Id. at 234.

The Second Circuit analyzed the language of the First Step Act and held it allows courts

independently to determine what reasons, for purposes of compassionate release, are

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“extraordinary and compelling,” id. at 236, and that Guidelines § 1B1.13 Application Note 1(D)

applies only where a First Step Act motion is filed by the BOP. Id. at 230, 236. The Second

Circuit concluded “the First Step Act freed district courts to consider the full slate of extraordinary

and compelling reasons that an imprisoned person might bring before them in motions for

compassionate release. Neither Application Note 1(D), nor anything else in the now-outdated

version of Guideline § 1B1.13, limits the district court’s discretion.” Id. at 237.

       The Sixth Circuit Court of Appeals recently followed the Second Circuit and held that

Guideline § 1B1.13 does not apply to cases where an imprisoned person files a motion for

compassionate release. United States v. Jones, No. 20-3701, __ F.3d __, 2020 WL 6817488, at

*7 (6th Cir. Nov. 20, 2020). The Sixth Circuit explained that “the passage of the First Step Act

rendered § 1B1.13 ‘inapplicable’ to cases where an imprisoned person files a motion for

compassionate release.”      Id. (citing Brooker, 976 F.3d at 234).        It concluded, “Until the

Sentencing Commission updates § 1B1.13 to reflect the First Step Act, district courts have full

discretion in the interim to determine whether an ‘extraordinary and compelling’ reason justifies

compassionate release when an imprisoned person files a § 3582(c)(1)(A) motion.” Id. In sum,

“In cases where incarcerated persons file motions for compassionate release, federal judges may

skip step two of the § 3582(c)(1)(A) inquiry and have full discretion to define ‘extraordinary and

compelling’ without consulting the policy statement § 1B1.13.” Id. at *9.

       The Seventh Circuit Court of Appeals has also reached the same conclusion as the Second

Circuit, holding that “Section 1B1.13 addresses motion and determinations of the [BOP] Director,

not motions by prisoners.” United States v. Gunn, No. 19-3219-CR, __ F.3d __, 2020 WL

6813995, at *2 (7th Cir. Nov. 20, 2020) (citing Brooker, 976 F.3d 228). The Seventh Circuit

determined that “the Sentencing Commission has not yet issued a policy statement ‘applicable’ to

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[prisoners’] requests.”   Id.   The court concluded, “Until . . . § 1B1.13 is amended, . . . the

Guidelines Manual lacks an ‘applicable’ policy statement covering prisoner-initiated applications

for compassionate release.       District judges must operate under the statutory criteria—

'extraordinary and compelling reasons’—subject to deferential appellate review.” Id.

       In the absence of contrary authority from the Eighth Circuit, the Court finds the Second

Circuit’s analysis, as followed by the Sixth and Seventh Circuits, persuasive. The guideline and

its application note are not “applicable” to a prisoner-filed motion and do not limit the factors a

district court can consider with respect to compassionate release.

       In Brooker, the Second Circuit described the defendant’s background as follows:

               Jeremy Zullo became involved in serious crimes at a young age.
               He joined the drug trafficking conspiracy that would land him in
               prison at 17; he was indicted at 20; and he was convicted and
               sentenced at 22. On May 26, 2010, Zullo pleaded guilty to
               conspiring to traffic marijuana and more than five kilograms of
               cocaine, possessing a gun in furtherance of a drug crime, and using
               criminally derived property in a transaction valued at more than
               $10,000. These crimes required the district court to sentence Zullo
               to, at a minimum, separate 10-year and 5-year mandatory minimum
               sentences.

976 F3d at 230. After completing its analysis of the First Step Act, the court remanded the case

to the district court because it could not “say, as a matter of law, that a court would abuse its

discretion by granting someone compassionate release on this record.” Id. at 237. The Second

Circuit commented, “It bears remembering that compassionate release is a misnomer. 18 U.S.C.

§ 3582(c)(1)(A) in fact speaks of sentence reductions. A district court could, for instance, reduce

but not eliminate a defendant’s prison sentence, or end the term of imprisonment but impose a

significant term of probation or supervised release in its place.” Id. “Beyond this, a district

court’s discretion in this area—as in all sentencing matters—is broad. The only statutory limit on



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what a court may consider to be extraordinary and compelling is that “[r]ehabilitation . . . alone

shall not be considered an extraordinary and compelling reason.” 28 U.S.C. § 994(t) (emphasis

added).” Id. at 237-28 (internal citation and footnote omitted).

Discussion

       The Court has carefully reviewed the record of this case and finds persuasive Defendant’s

arguments that its prior analysis of the § 3553(a) factors should be reconsidered. It now concludes

these factors weigh in favor of Defendant’s resentencing to time served. Defendant’s lengthy

sentence in this case was primarily driven by the drug quantity at issue, not by Defendant’s

criminal history or characteristics. As Defendant points out, with respect to the circumstances of

this offense, he was recruited by Robert Hill, the leader of the conspiracy, to pick up three

kilograms of heroin at a hotel in exchange for $10,000. Hill gave Defendant $10,000 and a cell

phone for purposes of the transaction as well as contact information for the individual they believed

to be the courier bringing the heroin, who was in fact an undercover officer (“UC”). (ECF No.

175 ¶ 37.) At one point in the events, Hill contacted the UC and “said that [Defendant] was afraid

to go to the hotel room. Through a series of texts, [Defendant] agreed to meet with the UC courier

at the back door of the hotel.” (ECF No. 155 at 4.) Defendant owned a Glock handgun,

registered in his name, but he left it in his vehicle when he arrived at the hotel for the exchange.

       Since the time of Defendant’s guilty plea and sentencing, most of his co-defendants and

the defendants in a related case have been sentenced. 9 The exceptions are the lead defendant,

Robert Hill, who was found guilty following a jury trial and awaits sentencing in December 2020,

and two fugitive defendants in the related case. As a result, the Court’s concerns about possible


       9
        The related case is United States v. Benitez-Lopez, et al., No. 4:16-CR-476 RWS.


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sentence disparities among co-defendants is no longer an issue. Moreover, the Court had the

opportunity during Robert Hill’s trial to hear evidence concerning Defendant’s role in the

conspiracy in addition to that which was contained in the Presentence Investigation Report and

Guilty Plea Agreement. The Court has a better appreciation of the nature and scope of the Hill

drug conspiracy and Defendant’s limited, low-level role therein than it did at the time of

sentencing. Also, the Court now believes the fact that Defendant left his legally owned and

registered firearm in his vehicle during the transaction is properly considered a mitigating factor.

Having considered the nature and circumstances of the offense, the Court now concludes that

Defendant’s 70-month sentence was greater than necessary to comply with the sentencing factors

of 18 U.S.C. § 3553(a).

       The Court also has a fuller understanding of Defendant’s personal history and

characteristics including his education, history of employment, and addiction at the time of this

offense. Defendant completed the eleventh grade and left school to work. He reportedly earned

his GED the following year, although the record is not entirely clear. Defendant owns an

eighteen-wheel semi-truck and was self-employed in his own business between 2013 and his

arrest, using the truck to provide fulfillment orders. Defendant reported he had always worked to

support himself. (PSR, ECF No. 175 ¶¶ 113, 115.) Defendant was thirty-five years old at the

time of his arrest in this case and was by no means a career criminal although he has had numerous

arrests. Defendant’s only prior felony arrest was from 2001 when he was eighteen years old. In

that case, he was convicted on a state charge of trafficking second degree for possessing a very

small amount of cocaine base, and received a suspended imposition of sentence and five years’

probation which he successfully completed. (Id. ¶ 65.) Defendant has a total criminal history

score of three and a criminal history category of II. (Id. ¶ 87.) At the time of his arrest in this

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case, Defendant reported daily marijuana use and addiction to Percocet pain pills that he developed

after being shot multiple times in the legs by unknown assailants while he was driving on the

highway in 2013. (Id. ¶¶ 100, 103.) These factors also indicate Defendant’s 70-month sentence

was greater than necessary to comply with the sentencing factors of 18 U.S.C. § 3553(a).

       While in BOP custody, Defendant has made significant efforts to better himself by taking

drug education programming and completing numerous classes, including Non-Residential Drug

Abuse, Drug Abuse Education, Parenting, Emotion Management, HVAC, Philosophy, Re-Entry

and You, Job Search, Basic Investing, Changing Directions, Disease Prevention, and Time

Management (ECF No. 382-1 at 4-5). Defendant has a clean disciplinary record in BOP custody,

having incurred no citations for non-compliance with prison rules, and has been designated by the

BOP as a “low risk” for recidivism. (Id. at 5, 8.) The Court places great weight on Defendant’s

post-sentencing conduct and positive prison record, which “provides the most up-to-date picture

of [his] ‘history and characteristics.’” Pepper v. United States, 562 U.S. 476, 492 (2011) (citing

18 U.S.C. § 3553(a)(1)).

       Defendant’s home detention eligibility date is June 1, 2022, and his pre-release plan is to

return to his mother’s home and his trucking business. (ECF No. 305.) Defendant has served

well over half of the sentence, which was his first significant term of imprisonment. The Court

finds that the time Defendant has served is sufficient to afford adequate deterrence to any future

criminal conduct, and his age, health issues, positive prison record, employment history, and

release plan indicate Defendant’s risk of engaging in further criminal conduct is minimal and can

be managed through the terms of his supervised release. See 18 U.S.C. § 3142(g) (stating that

conditions of release can mitigate danger to the community). With appropriate supervision, the




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Court concludes that Defendant will not be “a danger to the safety of any other person or the

community, as provided in 18 U.S.C. § 3142(g).”

       Defendant is a former smoker. As a result, under current CDC guidance, he is at increased

risk for severe illness from COVID-19. 10 BOP medical records show Defendant has recently been

diagnosed with hypertension. The CDC advises this medical condition may place Defendant at

increased risk for severe illness from COVID-19. 11 “Severe illness from COVID-19 is defined as

hospitalization, admission to the ICU, intubation or mechanical ventilation, or death.” 12 The fact

that Defendant is both a former smoker and has hypertension further increases his risk for severe

illness from COVID-19: “The more underlying medical conditions someone has, the greater their

risk is for severe illness from COVID-19.” 13 Further, CDC data indicate that the effects of

COVID-19 are more severe and disproportionate on Blacks.

       Defendant’s imprisonment during the COVID-19 pandemic places him at greater risk of

catching and becoming seriously ill from COVID-19 because he is unable to observe social

distancing protocols. Despite the BOP’s significant efforts at mitigation and containment, it

appears Defendant is objectively at significant risk of contracting the disease and cannot engage

in adequate social distancing behavior in the institutional environment. According to public

health experts, social distancing measures are the most effective way to combat the rapid spread

of COVID-19 and prevent illness. “Limiting close face-to-face contact with others is the best

way to reduce the spread of coronavirus disease 2019 (COVID-19). . . . Social distancing is


       10
         See n.2, supra.
       11
         Id.
       12
         Id.
       13
         Id.

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especially important for people who are at higher risk for severe illness from COVID-19.” 14

Unfortunately, in the context of institutional confinement, social distancing can be nearly

impossible to implement and follow, given the large numbers of inmates held together in crowded,

closed facilities. In light of this reality, courts around the country have recognized that the risk of

COVID-19 to people held in jails and prisons “is significantly higher than in the community, both

in terms of risk of transmission, exposure, and harm to individuals who become infected.” See

Basank v. Decker, 449 F.Supp.3d 205, 211 (S.D.N.Y. 2020); see also United States v. Harris, 451

F.Supp.3d 64, 67 (D.D.C. 2020).

Conclusion

       The Court finds the foregoing factors, considered together, constitute extraordinary and

compelling reasons to reduce Defendant’s sentence. Defendant’s Motions for Reconsideration

will be granted.     Defendant’s sentence is reduced to time served pursuant to 18 U.S.C.

§ 3582(c)(1)(A), and he shall be immediately released from custody. Upon his release, Defendant

will be subject to the conditions of supervision for a period of four years on terms previously

imposed, as will be set forth in the amended judgment to be entered by the Court. All other

aspects of Defendant’s sentence remain unchanged.

       Accordingly,

       IT IS HEREBY ORDERED that Defendant Demond Williams’ pro se Motion for

Reconsideration (ECF No. 349) and Sealed Motion to Reconsider Order Denying Defendant’s

Motion Seeking Compassionate Release (ECF No. 382) are GRANTED.




       14
          Centers for Disease Control and Prevention, Coronavirus Disease 2019 (COVID-19), Social
Distancing, https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/social-distancing.html (last
visited November 24, 2020).

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       IT IS FURTHER ORDERED that Defendant Demond Williams’ sentence is reduced to

time served, with four (4) years supervised release on terms previously imposed. The sentence

will be effective immediately and Mr. Williams shall be immediately released from the custody of

the Bureau of Prisons. An Amended Judgment will be issued separately.

       IT IS FINALLY ORDERED that the Clerk of the Court shall provide a copy of this Order

to the Probation Office and to the Federal Bureau of Prisons.




                                                __________________________________
                                                RONNIE L. WHITE
                                                UNITED STATES DISTRICT JUDGE


Dated this 25th day of November, 2020.




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